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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         )
                                                 )
              v.                                 )
                                                 )    Nos.
GRAYDON YOUNG,                                   )           1:21-cr-28-6 (APM)
JASON DOLAN,                                     )           1:21-cr-28-15 (APM)
MARK GRODS,                                      )           1:21-cr-437 (APM)
CALEB BERRY,                                     )           1:21-cr-460 (APM)
JOSHUA JAMES,                                    )           1:22-cr-15-5 (APM)
BRIAN ULRICH,                                    )           1:22-cr-15-9 (APM)
WILLIAM TODD WILSON,                             )           1:22-cr-152 (APM)
                                                 )
                            Defendants.          )

           JOINT MOTION TO CONTINUE SENTENCING PROCEEDINGS

       The government reports that Defendants Graydon Young, Jason Dolan, Mark Grods, Caleb

Berry, Joshua James, Brian Ulrich, and William Todd Wilson continue to cooperate with the

government. The parties jointly request the Court continue the sentencing dates and corresponding

briefing and presentence report deadlines currently scheduled from November 2023 through

February 2024. The government and counsel for each of the nine above-captioned cooperating

defendants have consulted and will be available at the Court’s convenience from February 2024

through April 2024.

       The following seven sentencing dates are currently scheduled from December 8, 2023

through February 2, 2024:

              Name                        Case #      Sentencing Date
              Graydon Young               21-cr-28    12/8/2023, 3:30pm
              Jason Dolan                 21-cr-28    12/11/2023, 11:00am
              Caleb Berry                 21-cr-460   12/15/2023, 2:30pm
              Brian Ulrich                22-cr-15    1/19/2024, 2:00pm
              Mark Grods                  21-cr-437   1/23/2024, 10:00am
              Joshua James                22-cr-15    1/26/2024, 3:00pm
              William Todd Wilson         22-cr-152   2/2/2024, 2:00pm
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Closest in time are Graydon Young’s sentencing proceedings, with a final presentence report

deadline of this past Tuesday, November 21, 2023, and a sentencing memoranda deadline of

December 1, 2023.

       In the last few weeks, certain proceedings before the Court related to this investigation

have been scheduled or rescheduled to later in the year. Defendant Thomas Caldwell’s sentencing,

in United States v. Rhodes, et al., Case No. 22-cr-15, has been rescheduled for December 20, 2023.

Likewise, defendant Donovan Crowl’s sentencing, in United States v. Crowl, et al., Case No. 21-

cr-28, has been rescheduled for January 12, 2024. Defendant Jonathan Walden’s trial, in United

States v. Walden, Case No. 22-cr-14, is currently scheduled for a bench trial before the Court on

January 17-18, 2024. And Defendant Jeremy Brown’s trial, in United States v. Brown, Case No.

21-cr-619, was recently rescheduled to a date to be determined at a status hearing on November

27, 2023.

       In light of these proceedings scheduled in the middle of the cooperators’ sentencing

hearings, the parties jointly agree that it would be appropriate to continue the sentencing hearings

logistically and substantively, assuming the Court’s schedule can accommodate.                  Some

cooperators may be called upon in trial preparation or at trial itself for the remaining pending cases.

Should that be the case, the Court could most efficiently consider the full scope of the cooperators’

potential substantial assistance to the government’s investigation at sentencing hearings that post-

date some of the upcoming pending proceedings. Similarly, completing the sentencing hearings

for some of the remaining defendants may aid the Court and the parties in accurately assessing the

cooperating defendants’ full scope of culpability and cooperation after the fact. In short, the

number of remaining proceedings warrant continuing the cooperator sentencings, just as the Court

has on a number of occasions throughout the pendency of these cases.




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       The parties are aware of the potential disruption this request may have on the Court’s

docket, and so are prepared to be flexible with the Court’s schedule from February through April

2024 for new hearing and briefing dates. All parties are prepared to discuss with the Court on a

case-by-case basis any scheduling conflicts and the best dates for each particular sentencing

hearing and briefing schedule.1




                                            Respectfully submitted,

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  There also remain two additional cooperating defendants who are currently scheduled for
sentencing hearings: Jon Schaffer, Case No. 21-cr-306, on February 20, 2024; and James Breheny,
Case No. 23-cr-179, on February 23, 2024. In light of the late February dates for these hearings,
the government is not moving to continue these proceedings.
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